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 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              )   CASE NO. 2:12-0294 TLN
                                            )
12                      Plaintiff,          )   ORDER CONTINUING STATUS
                                            )   CONFERENCE AND FINDINGS
13   v.                                     )   REGARDING EXCLUDABLE TIME
                                            )   PURSUANT TO SPEEDY TRIAL ACT
14   BART WAYNE VOLEN,                      )
     GREGORY SCOTT BAKER, and               )   STATUS CONFERENCE: 8-8-13
15   DARRELL PATRICK HINZ,                  )
                                            )
16                      Defendants.         )
17
18        On May 9, 2013, the parties appeared in court and stipulated to
19   an exclusion of time Pursuant to the Speedy Trial Act, citing the
20   complexity of the case (Local Code T2), the need for additional time
21   to prepare (Local Code T4), and the need to review over 150,000 pages
22   of discovery (Local Code T4).
23        The Court has considered the parties’ stipulation and, based on
24   the filings in the case to date, finds that this case is complex in
25   nature.   It involves various fraud, tax, and money laundering
26   charges, as well as numerous civil forfeiture claims.
27        The Court hereby finds that the stipulation, which this Court
28   incorporates by reference into this Order, demonstrated facts that
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 1   support a continuance of the status conference date, and provides
 2   good cause for a finding of excludable time pursuant to the Speedy
 3   Trial Act, 18 U.S.C. § 3161.
 4        The Court further finds that: (i) the ends of justice served by
 5   the continuance outweigh the best interest of the public and
 6   defendant in a speedy trial; and (ii) failure to grant the
 7   continuance would be likely to make a continuation of the proceeding
 8   impossible, or result in a miscarriage of justice; and (iii) failure
 9   to grant the continuance would unreasonably deny counsel for the
10   defendant the reasonable time necessary for effective preparation.
11   THEREFORE, FOR GOOD CAUSE SHOWN:
12        1.     The status conference is continued to August 8, 2013.
13        2.     The time period of May 9, 2013, to August 8, 2013,
14   inclusive, is excluded in computing the time within which the trial
15   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(iv)
16   (Local Code T4), and (h)(7)(B)(ii) (Local Code T2).
17        3.     Defendants shall appear in this Court on August 8, 2013,
18   unless a waiver of personal appearance has been filed with the court.
19        4.     Nothing in this Order shall preclude a finding that other
20   provisions of the Speedy Trial Act dictate that additional time
21   periods are excluded from the period within which trial must
22   commence.    The same provisions and/or other provisions of the Speedy
23   Trial Act may in the future authorize the exclusion of additional
24   time periods from the period within which trial must commence.
25        IT IS SO ORDERED.
26   DATED: May 15, 2013
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                                 Troy L. Nunley
                                 United States District Judge
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